Case 2:24-cr-00022-Z-BR Document 20 Filed 03/28/24 Pagei1of3 PagelD 32

US.D
NORTHERN SRICE COURT

ISTRICT ©,
IN THE UNITED STATES DISTRICT COURT FILED ©" 74s
FOR THE NORTHERN DISTRICT OF TEXAS MAR 2 8 2004

AMARILLO DIVISION CLERK, U.S

UNITED STATES OF AMERICA . uty
Vv. No.7 24CR0022-%

NICKOLAS GARRET O’BRIEN

INDICTMENT

The Grand Jury Charges:

Count One
Convicted Felon in Possession of a Firearm
(Violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(8))

On or about February 16, 2024, in the Amarillo Division of the Northern District
of Texas, and elsewhere, Nickolas Garret O’Brien, defendant, a person who had
previously been convicted of a crime punishable by a term of imprisonment exceeding
one year, did knowingly possess in and affecting interstate and foreign commerce, a
firearm, that is, a SCCY Industries, model CPX-2, 9mm caliber pistol, serial number
C330175, defendant knowing he had been previously convicted of a crime punishable by

a term of imprisonment exceeding one year.

In violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(8).

Nickolas Garret O’Brien
Indictment - Page 1
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: Forfeiture Notice
(18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c))

Upon conviction of the offense alleged in count one of this indictment, and

pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c), defendant, Nickolas Garret

the knowing commission of the offense, including, but not limited to, the following: a

SCCY Industries, model CPX-2, 9mm caliber pistol, serial number C330175.

A TRUE BILL:
FOREPERSON
LEIGHA SIMONTON
UNIJFED STATES AT VM
ANNA MARIE BELL
Assistant United States Attorney
New Mexico State Bar No. 12501

500 South Taylor Street, Suite 300
Amarillo, Texas 79101-2446

Telephone: 806-324-2356
Facsimile: 806-324-2399

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O’Brien, shall forfeit to the United States of America any firearm involved in or used in
E-Mail: anna.bell@usdoj.gov

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Nickolas Garret O’Brien
Indictment - Page 2

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
AMARILLO DIVISION

THE UNITED STATES OF AMERICA
v.

NICKOLAS GARRET O’BRIEN

INDICTMENT

COUNT 1: CONVICTED FELON IN POSSESSION OF A FIREARM
Title 18, United States Code, Sections 922(g)(1) and
924(a)(8).

FORFEITURE NOTICE
(1 COUNT)

A true bill rendered:

Amarillo UL4- BL " Foreperson
Filed in open court this a gh day of VA th A.D. 2024.

Clerk

DEFENDANT IN FEDERAL CUSTODY
(Complaint filed on 2/23/2024 — 2:24-MJ-20)

Ave Wim Row)

UNITED STATES MAGISTRATE JUDGE

